Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 1 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 2 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 3 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 4 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 5 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 6 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 7 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 8 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                           Exhibit A Page 9 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 10 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 11 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 12 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 13 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 14 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 15 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 16 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 17 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 18 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 19 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 20 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 21 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 22 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 23 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 24 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 25 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 26 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 27 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 28 of 29
Case 08-14631-GMB   Doc 626-3 Filed 09/05/08 Entered 09/05/08 14:53:06   Desc
                          Exhibit A Page 29 of 29
